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             Exhibit 
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                                             1                            Pages    I                                1:23-cv-01184-CRL-JEH # 318-7                                                                             Filed: 04/22/24       Page 2 of 8
  OFFENSE CLA.SStF,CA. TIOI\I                                                                                          1Nc. cooe                           DA lE O~ THIS REPORT                                                    CLASSll=ICAnON
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                                                                                                                                                                                                                                   CHANGE: NHOE □
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                                                                                       NAME A.NO/OR AL I AS                                                                         AODAf.SS !NO,. CITY, STAHC, ZIP!


                                                                                   James Robison                                                                          "" 303:3 W. Garden St.· ·

                                                                                   Savory,Johnny Lee                                                                              · 1 01-1 .W. ,Hurlburt
                                                                                                                                                                                                  r    '.   ;,




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 SEC. C:     S-5.ooo    o.'...eeeri Drnik1ng ~,-1r.to,.ica11dfu'nder lnltuet1m              0-0°7her (De:te1ibr in Narr,)
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                                             HAI~ tDESC:J                 ·                                                                                                                                                                                                                      mENTIFIABLE PH\'SICAl·CM.-\RACTE:RISTICS            :                                  us
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                                                .:    •CID                                                                                                                                                                     :COROI\IER

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                                                                                                                                                                                                                                                                                          ,...
      CONTINUATION .                                  0 -                      NARRATIVE:                                                .                                                                                                                                                                                        •   t   t
           SHEET ONLY . ·---. .                                      .·                                               l-26-77
                                                                                                                                              .... "~-               ,. -:r·        "             r.                                :l      -·p       ( (.                    ......._                                                                        '   ~~ ..   '

                        This officer wasradvised ·by ~ercy Baker; probation officer.for the above·a.rrested ·-tliat·,,the. arrested 'was-requesting
     o                                                                                                 ~         ercy                                 ,                             im· that··het was· .
   wi],ling to tell .this officer-everything_about thisrcase •. He further stated that·the arrested-.requestedc-to·talk with this·,.-
   o                      ·oneil              ,..                         , •                                                                    ·. · ~·                    .                     r
                    -·-When this officer entered the office; the ·arr_ested stated that ·he wanted_ this ofd'icer · to~write '·everything down that
                                                                             icer agree                                                                         ory: 1 • he arres e stated ·that·on
   Sund               - 1~16-77 --he·went to the Kro ers Store ·1n Madison· Park §ho in Center with Ra Mason ·and Rosemary· (no last name given)
                                                                                                                                                                     s .case ·s opp ng at the· store.
   An agreement was made for the arrested and his friends:.t_o ive,.the tm:il' victims-a· ride to.:.their·home. On-the-way to the·,..:
   vie                                ason·was s                                   riv ng s                                                              .                     ._ e- arrested· in the
   back seat on the-way_:_home • .r The two victi.rns;-were dropped·off-at their.house where .th                                                           were met at the- door by-the mother• and
                                                                                _                                                      osema.rys                          ow s or a party. ,-Tye ·the
 . went to R s·'house for a a,rt . ~ T-he arrested: sta-ted ·that he left the· art .- at a roximmtel ~rnidni ht.
           - ·:                                                                                                                                                                 ouse no ast name
    iven·but it-is a ·female,who lives 'on Second Street) and visited her. He then went··to·Tima.1 s.-house about 0900_ hrs; and she·
                                                                      _                        .                                                                              . her :-a owntown -and - ·
   went:·to see·his probat·on-office~, Percy Baker:• The,arrested·left his. robation-offfcers office·at approxim                                                                            1530 hrsro·:.
   an                       .                                - saw vie                                                                                        rs. and· again· at 1         rs. when
   school was·over. ·:They· sat together on the:bus and··victi.lp James asked the·arrested to come ·to 1 his house. The arrested·· ~ ·-
      CA:N OFFENDER               r·.
                                , BVWHOM    REPORTING OFF ICE R IPA INT, TVPEI.             REPORTING O,FFICER IPAINT. TYP'EI - - 1• 0, NO                                                                                                                   D1VIS.~ON

    GJl!IE .OE.NllFffD~ :i r·                                                          ~
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                                                                                                                                                                                                                                                                                                                                              UTILITY SHEET



                                                                                                                                                                                                                                                                                         PEORIA_SAVORY 785
                                                    NAHHATIVI::                                                                FIELD COMMUNICATIONS      i HRS.
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 Page       2                 of    1      Pages             1:23-cv-01184-CRL-JEH # 318-7   Filed: 04/22/24   Page 3 of 8        O Flash Message        I

l-- - - - - - - - - - - -                                I                                                                   _·__ O LEADS/NCIC Inquiry
                                                agreed to do so and they arrived at approximately 1900 hrs.
                         ATTACH PROPERTY TAG HERE                                                                        -- □ LEADS/NCIC Entry
                                             I                                                                           _ _ D Ucense Inquiry
  Victim James took a house key 01f.t of the 'mail box and. opened. the. front·- door. The arrested,· stated                    O Inter-Dept. Requeists
  t at this was a dumg place to Meep a key.                 ictim rones and the arrested then had something to ea               O Other communication
  and drink. They then pia'ced. a '!,et on card drawing and Victim James:·won $2. They then ·started, ·                         □ Cancellation Made
  wres ing n a r en y ou an                        ey e      on who was the etter wrestler.         ictim Jrones threw the areested three times
  and then the arrested got the victim in a bear hug. They then played with some sticks used in karate for a while. The
  arrnsted then c a l l ~ o n e $ and told her he lmow where her husband was but he stated that--he just made this up to play
  trlick on her. The arrested andlvictim James then went to a chilken place across from Madison ark shopping center and the
  eac carr e a weapon- ctim JaJlles carried a black niglit:sticl<: and t e arrested carried a metal pole. While at the chicken
  place, they observed a boy named Mi:rlY-i Melvin who lives next door to Marva. They thought he called them some names so the
  c     e          some names also and qhased nim to h1.s house. They hit on elvins door with their clubs. They then left and
  returned to James's house. Victim Connie was home as were her parents. Tbe·boys wnated the parents to judge who was
    e er a         ra ng car s or a wlj.ile. While£liey were wrestling around again,                 e arrested hit the victim James in the
  chest with his hand and the victim kicked the arrested in the rear end. The arrested stated that he left the vict:i.Jils house
  a approXl..llla e y             rs.     e     en wen    o a:y asons ouse or a w iiiie and arrive          ome at ppproximmtely midnight. He
  then welht to bed and woke up at1approximately 0830 hrs. on Tuesday 1-18-77.
- - -        tre "1UTS's1::ed-ttrnrr-wmrt.-to- arlene Harris s house for a while and then to Ella Mae Ivy I s house at 1103 W. First Street.
  He then left there in a green Mustang with Roy Brown and got a ride to Ray Masons house and arrived there at approximately
          or          rs.       i e here, ego           is a r rai ed by Bobbie Mason, Roy's iister. He then went to Tina Ivy's house
  and at approximately 1330 hrs. when he arrived., he took her to school. When they got·d.own town, it was approximately 1500
               e arres e      e      ina an we        to his probation officer'sol'!ice until about 1600 hrs. He le1' t ere and went to
             and· got kicked· out .for'tlirowing a book·across the'"room··a:t-,approximately 1630 hrs. The school them coiitacted Sherman
     nes, ano er o            s pro a ion o icers, an ma e arrangemen s or                e arres e     o~come o     e o · ce the next day.' · The r
  arrested :then ·went-to·Marva · Jones 1 s house :at. approximately ·,1700 hrs •. by bus~ -. He··then left to·-go· get victini. James and when···
  he got near the house, he observed the police cars there. He asked what had happeded of several of the Q,fficers· and no'one~
  would tell him~ He·-then:took'the'·bui=rand ·went.to Georgie's house because he ·wanted to hear· the news., 'H wever· he 'did not
  stay there and went· to Tina s house and,heard the~news.· that his friend- and his sister had been, killed.· ·
         The a.rrested.then·stated that·he went.home Tuesday·night~ •on·Wednesday,··he dlild not-go see:his probation~officer~·as he
 ,wassuppose                                                    is pro a on o icertan on riday. e·· ne                       out in
  who the murderer was.' He-heard_'varlbtlus stories ana··went and· got··dru.nk.               -,   . ,                   · -~.
     _     t the conclusion o t s narrative,                is o ficer asked"'"'tlie arres d ques                      ory in"the presence of his ·
  probation officer;r-Percy· Baker~ The arrested stated"iri answer ta° 'thi's officers uestion-that Ra had left on Wednesay after
    he nru.r er an wen          o     cago.       he arrests aleo statea ·•that when he was a       ays ·ouse'"'on, es ay that· y was,wearmng blu
  jeans black shoes and,nci shlbrt.· ~The-·arrested. stated that he had ·no conversation·with Ray while he was"at the house on Tues
      : 'This-officer- askea the-arrested what he thought of ·the victim, Connte. He stated that ·she was·a ·very{attractive girl
                                                                                  0


  and that h9':saw rio sense to,·somebne ':killing her •. He stated that ·he was scared totalk wj."th' h•ei<because hf his• poor past: -- .
  re a ions · ps" th gir s. He. s ated that·. on l-ionday·heI'ore ·the murders; he wante                 o wai aro      the ouse or~ onnie ·to -~
  come 'honie - so -he could· rap with ·:her but' lie'. and"victim James. wlmt· to get some chiihken instead.· : He. also ·~stated that he could
  swear that· it ·was riot· Connie in, the coffin .a-t· the- ftmeral because'lshe looked about 100 years old; When the- arrested and the
  victim James' returned to..,Jam.es 's, house on Monday night after eating.,·."·Connie ·was'·home but he 'did~not rap with. her-.then ceca.us
  her parents were there. The arrested stated that o                     the girls he had gone out         th in the past, he would not tell any o
  them that he loved them but he would'-ha.t'le liked to 'tell Connie that he ·:aioved her. He also stated that he was turned on by
    er rear en                                 rs                  ay night~llie store, he tbuuglit                                         years :tf.1..'d.
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                                                                                                                0112                                                                                          0[£]0
                                                                                                                                                                                                              CHANGf: l!IE~IJEO
                                                                                                                                                                                                                                  FROM                       TO

                                                                          NAME ANO/OR .A.LIAS                                                                         ADDRESS CNO., CITY, STATE, ZIPI

                                                                           Robison;- ·Jal}les                                                                     ·3033.W. Garden St.

                                                                                                Johnny µ)e                                                         .:1 011· W••. Hurlburt
                                                                                                                                                                                   .                '

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 S'EC. B:    K-Doe,a,d Be-tore ReJXJ•t   0-No (ndi!;iition of Injury   A-BIHd,rig, C.rried from Scelll!!   B-Vji-ible h11ju,y   C::-No Vii-ible- fnjury, IJ!omentoiry Uncomcious, Complain of P.Jin

 SEC. C:     S-Sol>il,   D-Bffl'I D,i11kinQ   l-lnto.11icatedfUndl'r Influence    0-0l.h■r (De5aibe Ln N¥r.)




                                          HAlfl CDESC.I
                                                                                   ....   '
                                                                                                                                                                                                                                                                  ID'ENTIFIABLlii PHYSICAL CHARACTERISTICS                                ._OLIS




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       CONTINUATION'..                              .     ····      NARRATIVE:                                                                  .            ,.                                         .         .. .            ..                               ,          · ·.'                          .,.           .          _     ..
        SHEET ONLY                               □.        :-                                     : He.:Uso ·asked
                                                         James. on Monda: who the little bah ·belon ed _to a-t his,hous~ ·and :when J_ames
                                                                                     ;r _
                     . mm   s       _e. was. surpi;-i~e.                                              _     ers. - ·              : •.. , _.., - :- ·
          This officer asked the arrested if he had made a hone call to R 1s house ori Tuesday morning. He- stated ..,.that he
   was a:                                                                                      ay answered the phone and the arrested aaid
   hi let me talk to our sister~ A this oint the arrested said that R                     asked him who that fime irl was that they had ·                                                                                                                                                                                             0




                                                                                                                             -told -this officer
   that he would not have iven Ra the hone number even if he lmow what it was. The arrested· then aalked with Rayjs sister··
   on                                                                                                             she agreed to this. When
   the sister h,m u the ·hone the mother was listeni              on the extension and asked the arrested to b::r;-ing her $1.0 if-he.had it
   so                                                                                                          es sometimes.· •               :
        This officer .then' asked the arrested if he had one to the victims ·house ·on Tuesd              and took ·the.. _key, from ·the mailbox.
   an                                                                                                           e had on Tuesday, the day of
   the murders. He stated that he was wearin blue trousers and that htey were at home either qn.the-dressersor behind the bed.
            . . _1.cer ·wa~                                   e arrested ha~ ·told. hiJ'!l ·that he-had,-agreed to ·go visit_·victim James ·on.
   the morningrof-·themurders but that-the ·arrested had ne lected. to tell -that ·to this officer for same reason. ·This-officer
   a                          e was suppos                                     es<lay morning. The arres~ed•stated that he·was. going to
   visit victim James and also planned to rap with Co:rmie if he got a chance.
          ring questioning, this officer had the arrested remove a blue hat he was wearing. When this officer- -took th~ ha~ f~om
   him (because he was playing with•it during the~questiQniog):there w~re several smalls ots -of ·a·reddish substance on·the hat.
   This officer turned the hat over to Officer Jatkowski of the lab when Officer Jatkowski collected the other clothes and shoes
   from the arrested. During the latter part of the uestioning of the arrested this                                             Officer-Fier ·in the
       CAN OFFENDER              :ev WHOM                                        fUPORTING OFFICER C'PRI-NT. 'rYfaEI                                               REPOAr1NG OFFICER (PfUNT, TVPEI                   11.D. NO.      DJVISION

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                                                                               NARRATIVE:                                                                                        FIELD COMMUNICATIONS                                                    i HRS.
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    Page                              of            · -            · "Pages
                                                                                        1:23-cv-01184-CRL-JEH # 318-7   Filed: 04/22/24      Page 5 of 8                                      D Flash Message                                            I

I- - - - -                                                                          I                                                                                          _- □ LEAOS/NCIC Inquiry
I                          ATTACH PROPERTYTAG HERE                                                                             '~-' ·
                                                                                                                               O LEAOS/NCIC Entry . . : . r
I                                      I                                                _                      .      .        D License Inquiry
I               art f the      estionih , These· officees advised the· arrested that we did not.tbelieve h                     D Inter-Dept. Requests
1was - ~elling the complet,~ _t~th -i~ re?ard. to thi~ case •. -.!1!.~- -8::1'es:teq ,c:!~~ied that he had n_?t. ~ol? t _e truill'other Communi«:ation
I des 1.te the fact that di.sere anc1es 1.n his stories were ointed u to ·hJJll such as that the Mason                         D Cancellation Made
I family denied that the arrested ~as·at their house on Tuesday at any time.
I          During the above questionang, the arrested was allowed to o to the bathroom smoke and eat meals.
I                                      I
I          1800 hrs.                   I
I          1-16-77                     I
I        i    ff'cer Off cer Fiers nd Probation officer Pere B ker trans orted the arrested to Dennis Jenkins
I office and the arrested was admihistered a polygraph examination by ¢f Eddie Bowers. At 1975 hrs. Bowers exited the
I ol rah room and infomed thisl officer that the arrested was re uestin to talk about the tww murders in this case
I and wanted specifically to talk ld th this officer. Bowers also stated that the arrested had told him that he had killed
I h tm1- ctims in tlh s case.          I
I       At 1935 hrs. this date; this officer entered the polygraph examination room ~d asked the arrested what it was he
I                            ce     T       e t     t te the followin : ''We were racticin karate and Scoo ie turned the TV to
-the-walf: 7-ie waspunahTng me-mth his finger and then he raised his hands. (The arrested held his hands up with his elbows b n1
  i a o ition similar to the one victim James has assumed. The arrested had bhe knife and stuck him. He fell. M mind
  went blank. I tried to get him up. She came in and looked and came at i-1-i me. Then I lost control. I cut her. I don't
   now how I ·aid it · r1.'r. - home' and I     .drunk. 'i ·st ed drunk ·ror four da           -ot   did· not· come home at all. 11     s and                                                                                                                r



                                                                                                                                                                                 ~   . - -.   .   .,...

    2. Q.' Do· the.-·p~lice. have tne 19'life? ·.                                                                                                                                                            r·                •.       . ·,-.

      -'             , •             I.               • - •.                                                                                                                                              -• r        • . • -_r:•



                       'u cut her?' -                                                                                                    ~                          t      '

    A. I s_-t:,artec:Lat the c~es~_an,d her vagina ·(arrested P,oin-f;;s l;letw~en his lefs                                         _and. ~ound ·her miq-se9~ion                              arrested makes a    •    •..,•   •    r      •-        •
       cuttiri moti'6n across his· abdomen· horizonta.11 r•;
                                                                                          r•.- •

       Wh .t clothes' dia     ou· ii.ave on? . . .        ·       · ·.·.              · ··                                             · '· ·
    A. Blue pants· that                                            are
                                :at home now,. unknown shirt,' ·sweatshirt that t-1as taken by the lab. officer today and the,.·blue jacket t        en
                 r    •        ':,    --r
                                      ..  . i's blue.:.,,
                                           •.   •         • et w· .
                                                               .   -                                    removed
                                                                         ter· enterin the victims house 'and was not ··t back,. on until
           the' arrested left the house~              .                  ., ''
                                                                                                                                                ·-·.
                                                                                                                                ,. .
                                                                                                                                              . ·..-
                                      and he ·wanted me to
                                                                              . ?                                              J'




                                -
                                                                                                                                                                                                                                                i 1.0. NO.
    How did you get in the house?                                                                                                                   SUPEAVISOR APPROVING
                                                                                                                                                                                                                                                'I
    A. Scoo ie l~e~t_E--'--'--e_i=·n'--.---------------------                                                                                                                                                                                   ''

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      Murder B                                                                                                         0112                    1-26-77                                                          GJ00
                                                                                                                                                                                                                CHANGE N-EE:OED
                                                                                                                                                                                                                                  FROM                    TO

                                                                                                                                                                        ADORESS tND., ClfY, STAlE, ZIPJ

                                                                                    Robison, James                                                                  3033 w. Garden St.
                                                                                                   Johnny Lee·                                                    .1011 W~ · Hurlburt ·

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 SEC. A:
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                                                                                                                                                             V-V1-ctim
                                                                                                                                                                        .    W-WitnltlS
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 SEC. B:    K-Oe-11d Bdore Repol't    O-No.lnd1c.it1o<J o-f )11j1J~y       A-Bleediny, CErried from Scer,e-   B-V1s1ble 1njurv   C-N"c) V1sible-lr1Jury, Momentary Uncon.sciou~. Compl,rn> of P-ain •

 SEC. C:



                                       HAIR" IOESCJ       '                                                                                                                                                                                                    10EtHIFIABLE PHYSICA~ CHARACTERISTICS               OLIS~




                                                                                                                                                                                                                                                                                                                   ous


                                                                                                                                                                                                                                                                                                                   OLIS..-



LAB'                                                                                                  1PHOTO                                                                                                                               •   1 OTHER
                                                                                                      ,,.'                                                                                                                                     '
                                                                                                      ''
      "c;:ONJ:iNUA TIO~                                                NARRATIVE:                                                                                                                                                                                                                             .J
           SHEET ONLY .                         □
                                            At this point.·-the.-arrested sta·ted that he did not· w·ant ·to stay at the-:polygraph office and·
                                                        uven1: e.                            .                            er.
                              ·'.upon             the--Juvenilebureau· the·a.rrested was·takert'intci the Lt. office and uestioning reSUilled
      in regar    o   is case.                                                                                                           ·ed ·that he·
      did not- kill the ·-two· victims in thi's case. and. he·-did ·not :}mow why he had told this officer and-.·Mr. · Bowers· that-' ·he had done
              e                                                                                                                                                                                                                                                                                                    ep
      his story..                    The arrested ·was informed that some details .would ·have-to· be'- clarified -in regard to ,thm statements he made to· this
      0                               e po ygrap        1ce. ·     - ,, · ·                                                                       .   .. -
                                              ··The. a.I'.rested them agreed· to ·answer ·questions. truthf'ull .· regardin ·,the: details of thi~~ incident. The ·,
                                                                                    · approx:un
                                          prior to going to the victims house. When he arrived at the victims house, S oopie answered
  _                                                                                                                                                     .                           _.                                                     • · , rior..                      _.
                                                                                               ....i~e-:l_-T_a~s-w~e-ar~i--n~g~d=r..~r-k_-_,t~r~o_u__s~e~rcr~TC--=bu~t~t-h~e_,_a~.r~r_e~sc-tl-=ec:::d:-,,r---,·~·~~,---,-,.,.....,,C""""C"T-,,--,---,.~-~--.----.-':c..._,..._;_..-.:--.---..-'---.-----1 ~
1----.s....c-o_o__:p:_i_e_·_.m_o-v_,e~d_-t_h_e__,,_t_,_e~l.,..,•evi,,____s_i_o.,...n~·~S~c~oo..,.p
                                      _.               . . ..            e . iv:i.ng room                              . .               .
      he dia nat:see-anyone slse'in•the house at'that time·.                    the arrested were·.wr.estling and-laughing and having a~
                                                                                   ames was ,s                                              e
   liv-m:m room-and:··suddenl ·.threw-his hands·u ::as he·had                   thi_s·officer earlier-and had·the•miifldle finge:r_:-of··his
  ·                                                                                                                        m _WJ. th ·that finger
 ·.im the neck':for instance ·li:t·wouJ.d have cut'·off'his arr and made him.fill on the•floor; The arrested st<l.ted that at·that -tiJBe
                                                                         e reason                         e ·knife· was that the .victim . -
  wanted to. teach- him about self-defense· via-karate against a knife.- The· arrested' ·stated ·that he swun his hand in ·toward •the

                                                                                                                                                                                                                                                                                                  EXTENSION


                                                                                                                                                                                                                                                                                               ~L.,ns~
                                                                                                                                                                                                                                                         PEORIA_SAVORY 789
                                           NARRATIVE:                                                                           FIELD CUMMUNICATIUNS       · i HRS,
                                                                                                                                                            I
    Page   6        of' ' ·-1' '   Pages                1:23-cv-01184-CRL-JEH # 318-7   Filed: 04/22/24   Page 7 of 8               D Flash Message        :1
I - - - - - - -                    - -              I                                                                         == □ LEADS/NCIC Inquiry       ,_:- - - - 1
               ATTACH PROPERTY TAG HERE                                                  ·· · _ _ _ _- - ; _ _
l,!.l_ _ _ _ _ _ _ _ _ _ _ _ _ _ __ ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                       ,1                 D LEADS/NCIC Entry'·    ,_l- - - - 1

I                                                   I                                                                         _ _ O License Inquiry     . ,------,
\-1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _----cl_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~-------t--- □ Inter-Dept. Requests · 11---------1
  I                                     I                                                                   D Other Communication l,__---1
  I victim and went too far·."."''H'e olhly meant to point the knife:·at the victims chest . . .       -- □ Cancellation Mad
                                                                                          ow many                                    runes and             ed
  that it was once or twice and that he could not remember for sure. At this point, the victim Connie crone out of the
        room and saw what had happenfd:--She started screaming and was wearing a blue nig
        then char ed toward him. Th~ arrested hit her in the mouth i-,!' with his right hand and she ·fell ·to the floor.
                                             e arreste                                                                                         at he
       hed his hands in the bathroomland combed his hiir with his own comb. He aiso stated in res onse to this officers qu~stion
       t he turne       nelTglit swit~h in theoathroom when lie wen                     ean up.                         sed the arres ed 1. he
1cleaned his knife off at the houte and he stated that he did not. He stated that he went home and cleaned it off vdth some t il
I tissue and then hrew the t ssue I away.           is officer t                                                                       er room o       e
1house at an time durin this. ie stated that he did not. He stated that he did not know how the baby got in~o the other
I room.                          the ar:rested 1.            an argumen                                                ere was no argumen •
             This officer and Percy ~alter then asked the arrested if he was sure he had.stabbed victim James in the living room
                                  ve---aane it in the im-fili bedroom where the bodies were                        e arrested stated that he remembe ed
   racticin and forcin the victim James into a bedroom and that he ma have stabbed him in there. The arrested then stated
             -                                                                                                                                         gern il
  polish ne·was referring·to and what'kind·and.where he"had left·it at·the victims.house;·- ,He stated that it was clear nailpoli h
                             ing on a· table · that he · thou     wasnear.: a recor                                                                  •
    .,.. · This~ officer and ·Percy BA~er. asked· lllhe. arrested to tell us more 'details ·about 'how Connie was stabbed and he stated
                                                     e · en ranee o · e · J.ving room an                                                         :un ' ·
                                                     r.ested~stated that.he icked-·her u "Eild·carried":her inot~the.-bedrrom and·: 'ut~her··
                                                                  onrue came                                                                           1.s
                                           n- the front·:·part- of nis· lower ·right leg and st·ated that that i,ras where ·he ·had 'been kicked~.
                                             ill had the lmil'e in his han                                         onn1.e in -      _           er · ·.
            At this point the arrestee cou1d'·not recall···taef"'details· of~the other· stab wounds.on victim Connie. This officer
  as                                  oruu.e- on                    e f'Ioor an                                                                    e was
                                                          r                                                r   .....      ·
  not sure~·                                                  f"   ••·   •                        ,...




             is o fi:cer ·asked· the arrestee· if he called Ray from the victim                                                                               s
  were dmad •. The arr·est~d- stated :that he know he callea··,Ray·but he·            .
  or not.               ed statec,- t                           os over aga.J.n;
  al:so stated that· hlie··scarf faun.cf at the· scene.· was nothis and :he did riot drnk' a:· haJ..f;...can ·of ·beer :either. The arrested ·dia
  state that he kiced· the crackers off the counter -in'the ·tchen wh                   ey were··prac        ._                      there··and that ·he
  and· vfctim James diecided hot ·to· clean···them·up·~ -,This 'officer. aksed the arreste .               . -. .    .     .   ~  ..                 . ...
  house·-and he stated that he fel" ·over it·on nis way out of ·thehouse after the s
  house -the arrested· t){ stated ·that ·he had eaten some~ on Monday night but thathe ·•did not ·ha.ridl·e the·: c,;1.n.-- This ·officer asked··.t e
  arrestea·-·1r he had· put the ·baby in another, room of. the liouse · and the arrested· state                                                ings were
  over with,-he··cleaned':-up arld got the'oaby off of vfctim'James·•.s.bed where he·was· slee in and-carriea·him into·the·other-
  room and shut him in there. The arrested stated tfiatne                               seeing any                           resser in
  where the bodies were,found·ana does not recall cutting any pictures. This officerand Percy Baker observed two small abrasmo s
  on the back of the   ~
                           uckle of the right hand middle
                                                I
                                                                                                ere was


                                                                                                                   PEORIA_SAVORY 790
Page       7                   of              1               Pages                                                                                                                                                                                                                                                      77-01588
  OFFENSE CLASSIFICATION
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                                                                                                                         INC. CODE                     OAT E OF n-il S FIClPORT
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                                                                                                                                                                                                                                               FRO,ill                    TO

                                                                                                                                                                                AO DRESS mo .. CITY, ST.AT'E, ZIP)



                                                                                   Robison                         James                                                                           Garden
                                                                                                                                Lee                                        1011 W. Hurlburt


SEC, A.:    A-llrre!lotlP.d   B-Br,nine-i;s, Firm, .Agency   C:-C,om1,1liin;iint   BR-Eli11m•11der     M-Mis.5ing, R,.n,.away    P-Parent, Guordi.an     S-Suspea     V-V1ctim    W-Witl"ltn   Q-Ot~r (N11r.]

SEC. B:     K-Oe.ad Befote Report         0-N:o lr1dica1ion ot Injury       A-Blli!eding. ~rrill!d from Sce-rie      B-Vis.ibl-e ln;ury   C-No Viiible- tnjurv, Momentary Uneonsc:iou1, Complain of Pain-

 SEC. C:    S--Sobe<      0-Been Orinkin,g      1-lntoxicatedll.Jn.de, lntlue-nce     0-0the-r (Oescribll! in. Narr.)

 SEC. D:    M-Male-      F--Female     U-U11known       I W-Whi1e         N-Negro      lill-Me1<ican    J-Jai:iartie5e   1-lndi~n   P- Pu,mo Rican      C-Cl!.intH-   O-Dther                      SEC.•:            POL-On Dutv Police    00-011 Duty Police

                                            HAIR IDESC.J                                                                                                                                                                                                                       IDENTIFIABL,1: P'HVSICAL CHAA.A.CTE~ISTIC!!i




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LAB                                                                                                                                                             1PAT.ROL. SGT.                                  :CORONER                                        1 0THER
                                                                                                                                                                I
                                                                                                                                                                I                                               ''
                                                                                                                                                                '
      CONTINUATION                                 □                     NARRATIVE:
       SHEET ONLY                      The arrested was uestioned as to how he obtained these marks and he stated that the ma
   have occurred during the struggle.but he was not sure. The arrested was asked about the meta1 pole.found at the scene of the
   crime and he stated that it belon ed to Vcitm James -and that aJ.thou h he had take ·t  t ·t,;          M
   arrested denies that it had anything to do with the murder.
            This officer was unable to determine kh.ere the do ·was durin this crimm but could not make that determi at
   This officer was also unable to determine if the arrested told anyone but Ray that he had murdered the victims.
            The arrested occassionall ·aurin this     estionin stated that he had not committed the JTIU.rder but wo
   continue to anSW"er specific questions about the crime scene.

           U!-00 hrs.
           1 -26-77
       This officer and Percy Baker transported the arrested to Gift Avenue Home at this time where a temporary detentmon order
  was si ed b Jude Whitne who was resent at IIFift Home, Also resent were Assistant S tes At               J e G" ·
  Dunlavey, and Officers Pinkney and Haynes. The arrested will be held at Gift pendlllng his court appearance tomorrow.




       CAN OFFE;NOE!R              rB'V' WHOM                                       RE.PORTING OFFICER (PFUNT, TYP-1;)                                                                                                        1to. NO.                                                                                                                  1.0.NO,

      0               0            '
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